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— ORIGINA OR THE NORTHERN DISTRICT OF TEXAS... cy

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" Case 3:20-Cv-03630--BK Document 3 Filed 12/11/20 Vage 2of4 PagelD 6

EEOC Form 161 (1116) U.S, EQUAL EMPLOYMENT OPPORTUNITY COMMISSION

 

DISMISSAL AND NOTICE OF RIGHTS

 

 

 

To: Lisa Crump From: Dallas District Office

3840 Frankford Road 207 S. Houston St.

Apt. 8216 3rd Floor

Dallas, TX 75287 Dallas, TX 76202

CJ On behalf of person(s) aggrieved whose identity is
CONFIDENTIAL (29 CFR §1601.7(a))
EEOC Charge No. EEOC Representative Telephone No.
Juan F. Munoz,

450-2020-04711 intake Supervisor (972) 918-3607

 

THE EEOC IS CLOSING ITS FILE ON THIS CHARGE FOR THE FOLLOWING REASON:
The facts alleged in the charge fail to state a claim under any of the statutes enforced by the EEOC.

Your allegations did not involve a disability as defined by the Americans With Disabilities Act.
The Respondent.employs tess than the required number of employees or is not otherwise covered by the statutes.
Your charge was not timely filed with EEOC; in other words, you waited too long after the date(s) of the alleged

discrimination to file your charge

The EEOC issues the following determination: Based upon its investigation, the EEOC is unabie to conclude that the
information obtained establishes violations of the statutes. This does not certify that the respondent is in compliance with
the statutes, No finding is made as to any other issues that might be construed as having been raised by this charge.

The EEOC has adopted the findings of the state or local fair employment practices agency that investigated this charge.

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Other (briefly state)

- NOTICE OF SUIT RIGHTS -
(See the additional information attached to this form.)

Title Vil, the Americans with Disabilities Act, the Genetic Information Nondiscrimination Act, or the Age
Discrimination in Employment Act: This will be the only notice of dismissal and of your right to sue that we will send you.
You may file a lawsuit against the respondent(s) under federal law based on this charge in federal or state court. Your
lawsult must be filed WITHIN $0 DAYS of your receipt of this notice; or your right to sue based on this charge will be
lost. (The time limit for filing suit based on a claim under state law may be different.)

Equal Pay Act (EPA): EPA suits must be filed in federal or state court within 2 years (3 years for willful violations) of the
alleged EPA underpayment. This means that backpay due for any violations that occurred more than 2 years (3 years)
before you file suit may not be collectible.

On behalf of the Commission

for CG

Enclosures(s) Belinda F. McCallister, _ _ (Date Matec)
District Director

Tammy Barrow

Assistant Vice President, Diversity & EEO
DART

PO Box 660163

Dallas, TX 75266

 
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provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is required for the use of the Clerk of Court for the

purpose of initiating the civil docket sheet. (SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM.)

 

l. (a) PLAINTIFFS
Lisa Cesmp

(b) County of Residence of First Listed Plaintiff
(EXCEPT IN U.S. PLAINTIFF CASES)

  

(¢) Attorneys (Firm Name, Address, and Telephone Number)

DEFENDANTS

Dales Ara

NOTE: IN LAND CONDEMNA
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Il, BASIS OF JURISDICTION (Place an “x” in One Box Only) TI, CITIZENSHIP OF PRINCIPAL
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fr U.S. Government (C3 Federal Question F DEF rod PIF D
Plaintiff (U.S. Government Not a Party) - Citizen of This State 1 Ch 1 Incorporated or Principal Place - oO 4 x
: . of. Business In This State
{[]2 U.S. Government (714 Diversity Citizen of Another State O12 g 2.) “Incorporated and Principal Place Ols Os
Defendant (Indicate Citizenship of Parties in Item Il]) - : : / % of Business In Another State
Citizen or Subjéctofa © [[]3 [] 3 Foreign Nation Oe Cs
Foreign Country : . .
IV. NATURE OF SUIT (piace an “x” in One Box Ont Click here for: Nature 9 Descriptions.
110 Insurance PERSONAL INJURY PERSONAL INJURY - _Jezs Drug Related Seizure |_| 375.False Claims Act
120 Marine |_| 310 Airplane DO 365 Personal Injury.-  * of Property 21 usc 881 |_| 376 Qui Tam (31 USC
130 Miller Act |_| 315 Airplane Product Product Liability [7] 690 Other ; a8 URC AST 3729(a))
140 Negotiable Instrument Liability oO 367 Health Care/ |_| 400 State Reapportionment
150 Recovery of Overpayment | | 320 Assault, Libel & Pharmaceutical |_| 410 Antitrust
& Enforcement of Judgment} Slander Personal Injury |_| 430 Banks and Banking
H 151 Medicare Act | -| 330 Federal Employers’ : ’ Product Liability 830. Patent S |_| 450 Commerce
152 Recovery of Defaulted Liability " [[] 368 Asbestos Personal 835 Patent - Abbreviated [7] 460 Deportation
Student Loans , |_| 340 Marine Injury Product ~ o New Drug Application |_| 470 Racketeer Influenced and
(Excludes Veterans) |_| 345 Marine Product Liability 840,Trademark Corrupt Organizations
([] 153 Recovery of Overpayment Liability ‘PERSONAL PROPERTY 880 Defend Trade Secrets [7] 480 Consumer Credit
of Veteran's Benefits |_| 350 Motor Vehicle 370 Other Fraud 710 Fair Labor Standards . . Act of 2016... . _ (15 USC 1681 or 1692)
160 Stockholders’ Suits |__| 355 Motor Vehicle 371 Truth in Lending ~ Act. a We |__| 485 Telephone Consumer
190 Other Contract - Product Liability [} 380 Other Personal. _ _[7]720 Labor/Management Ld Protection Act
195 Contract Product Liability [| 360 Other Personal Property Damage: ‘ * Relations 861}HIA (1395f);: 490 Cable/Sat TV
196 Franchise Injury | 385 Property Damage 740 Railway Labor Act- 862 Black Ling. 623). 850 Securities/Commodities/
|] 362 Personal Injury - Product Liability 751 Family and Medical 863, DIWC/DIWW (40508) Exchange
Modical Malpractice 7 f+ Leave Act 864) }SSID Tide XVI: 890 Other Statutory Actions
7 : [_]790 Other Labor Litigation - os 891 Agricultural Acts
|_| 210 Land Condemnation a R4GOther Civil Rights Habeas Corpus: : __|791 Employee Retirement’ - 893 Environmental Matters
[| 220 Foreclosure Ty or Voting , |] 463 Alien Detainee "Income Security Act 895 Freedom of Information
| 1230 Rent Lease & Ejectment [R/ 442 Employment [__] 510 Motions to Vacate 8705 Taxes (USS. Plaintiff Act
|_| 240 Torts to Land . | | 443 Housings ~ - Sentence or Defendant) « ‘896 Arbitration
|_| 245 Tort Product Liability Accommodations | |}530General 899 Administrative Procedure
|_| 290 All Other Real Property |_| 445 Amer. wise -[_]'535 Death Penalty : ’ ActReview or Appeal of
 Employme: Other; ! ah 462 Naturalization Application Agency Decision .
| | 446 Amer. Yv/Disabilities -[_] 540 Mandamus & Other 465 Other Immigration |. 950 Constitutionality of
Other |_| 550 Civil Rights . i. Actions - State Statutes
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Proceeding State Court. Appellate Court. ~~ Reopened — Another District oe Litigation - Litigation -
, (specify) - i ._ Transfer Direct File
Cite the U.S. Civil Statute under, er which you are Bling @o not cite jurisdictional statutes unten di = oe were
See hee tas TEE THRE dines: at
VI. CAUSE OF ACTION Brie description of cause’ Cg yg Pf Beat pa Hiatian
VII. REQUESTED IN  (] CHECK IF THIS IS A CLASS ACTION. | ‘+;DEMANDS 5+ = i) CHEGK YES only it demanded in complaint:
COMPLAINT: UNDER RULE 23, F.R.CvP. : : " : f JURY-DEMAND:! [Yes [No

 

VIII. RELATED. ‘CASE(S) : abo

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DATE SIGNATURE OF ATTORNEY OF RECORD
FOR OFFICE USE ONLY

RECEIPT #

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Case 3:20-cv-03630-E-
INSTRUCTIONS FOR ATT

 
 

* ha For Civil Cover Sheet

required by law, except as provided by local rules of court. This form, approved by the Judicial Conference of, ithe spect States in September 1974, is
required for the use of the Clerk of Court for the purpose of initiating the civil docket ‘sheet. Consequently, a civil cover sheet is submitted to the Clerk of

Court for each civil complaint filed. The attorney filing. a case should complete the form as follows: pe

I.(a)
(b)
(c)

II.

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VI.

VII.

VII.

 

Plaintiffs-Defendants. Enter names (last, first, middle initial) of plaintiff and defendant. If the piain iff or defendant isa a government agency, use
only the full name or standard abbreviations. If the plaintiff or defendant i is an official within a gov ment agency, identify first the agency and then
the official, giving both name and title.

County of Residence. For each civil case filed, except U.S. plaintiffce cases, enter the name of the county fy wheil the first listed plaintiff resides at the
time of filing. In U.S, plaintiff cases, enter the name of the county in which the first listed defendant redides. at the: time of filing. (NOTE: In land
condemnation cases, the county of residence of the "defendant" is the location of the tract of land invol¥ed.)' ot

Attorneys. Enter the firm name, address, telephone number, and attorney of record. If there are several a attorteys, list them on an attachment, noting
in this section "(see attachment)". :

 

   

Jurisdiction. The basis of jurisdiction is set forth under Rule 8), F. RCy. P,; which requires that j juris ions be shown it if Pleadings. Place an "X"
in one of the boxes. If there is more than one basis. of jurisdiction: ecedence ig given in the order ote :
United States plaintiff. (1) Jurisdiction based on 28 U.S.C; 1345:and 1348... Suits by agencies: :and offi of te Gal
United States defendant. (2) When the plaintiff is suing the United States, its officers or agencies, placdian."X' ‘irk this box.

Federal question. (3) This refers to suits under 28 U.S.C. 1331, where jurisdiction arises under the Cong tution. of the United States, an amendment
to the Constitution, an act of Congress or a treaty of the United States. In cases s where the US. is a pat thet Ss. ‘plaintiff or defendant code takes
precedence, and box !'or.2 should be marked. 272) 2 wee o 4 ep ht. ‘

Diversity of citizenship. (4) This refers to suits under 28 U:S. C. 1332, where parties are citizens of di ereiit, states,, When Box 4 is checked, the
citizenship of the different parties must be checked. (Sees Section’ TI below; NOTE: federal question actions take precedence over diversity
cases.) . no coe #

  

Ga nited tates are included here.

     
 

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Residence (citizenship) of Principal Parties, This section of the JS 44 is to te eprpleted if diver, fc
section for ‘each principal party. yo OSES PEs a

   

 

Nature of Suit. Place an "X" in the appropriate box. If there ine snuitipie pte of suit codes ‘associated Ww th the case, pick the nature of suit code
that is most applicable. Click here for: Nature of Suit Code Descriptions . en i

  

Origin. Place 'ati "X""iti'oile Of the Seven boxes:”- Boos us PRE Poon tes ‘ ot pe tig
Original Proceedings. (1) Cases which originate in the United States district c courts, | wh
Removed from State Court. (2) Proceedings initiated in state courts may be removed to the district courts under Title 28 U.S.C., Section 1441.
Remanded from Appellate Court. (3) Check this box for cases remanded to. the district court for further actin ;Use the date of remand as the filing

  
   
    
 
  

 

date. . png ot

Reinstated or. Reopened. ‘(4) Check this box: for c cases réinstated’ or reopened i ihe district cout: Use thet ida te as the filing date,
Transferred from Another District. (5) For cases transferred under Title '28 U. S. C. Section 1404(a) De ot is i fede district transfers or
multidistrict litigation transfers. Pr .

Multidistrict Litigation — Transfer. (6) Check this box when a multidistyict case is s transferred into the it under authority of Title 28 U.S.C.

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ri a Master MDL docket. PLEASE
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Section 1407. :
Multidistrict Litigation Direct, File,i.(8):- Check: this box. wher unultidistriet case is filed in the same.
NOTE THAT-THEREIS NOT AN: ORIGIN CODE Te Origin Code % rwasssed fe for historical tecoi
statute. we ;

 

Cause of Action. Report the civil statute directly related to the cause eof action and give a brief descri D
statutes unless diversity, Bxample: US. Civil Statute; 47. ay Se rief eae Una thor “ed. scent

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Requested in Complaint. Class Action. Place an xe in this box.if you are filing a class actihcusd RU 28s:
Demand. In this space enter the actual dollar amount being demanded or indicate other demand, such af a prelit
Jury Demand. Check the appropriate box to indicate whether ornota iy is being demanded. 4

 

 
 
  
 
 
 
    

Related Cases. This. séction’ of the JS 44 i is 3 used to reference felated cases, if any: ‘Ifa related case exifts, Wh ES pbading or closed, insert the

docket numbers and the corresponding judge names for such cases. A case is related to this filing if the case: i involves some or all of the same
parties and is based on the same or similar claim; 2) involves the same @ Property, transaction, ¢ or event; api involves substantially similar issues of law
and fact; and/or 4) involves the same estate in a bankruptcy appeal eae

 

    

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